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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF INDIANA
                              HAMMOND DIVISION

UNITED STATES OF AMERICA, ex rel. )
BRADLEY A. STEPHENS, Relator,       )
                                    )
            Plaintiffs,             )
                                    )
            v.                      )               Case No. 2:13CV145
                                    )
CONRADO CASTOR, M.D.,               )
AMERICAN HOME HEALTH                )
SERVICES, INC., AUREA DUNCAN,       )
AND JACOB CASTOR,                   )
                                    )
      Defendants.                   )
____________________________________)


               COMPLAINT IN INTERVENTION AND JURY DEMAND
               OF PLAINTIFF UNITED STATES OF AMERICA

                                     INTRODUCTION

1.    Plaintiff United States of America brings this action to recover statutory damages and

      civil penalties under the False Claims Act, 31 U.S.C. §§ 3729-33, and to recover damages

      and other monetary relief under the common law or equitable theories of fraud, unjust

      enrichment, and payment by mistake of fact.

2.    From May 20, 2008 through January 25, 2014, immediate family members of defendant

      Conrado Castor, M.D. (Dr. Castor) owned three home health agencies: defendant

      American Home Health Care Services, Inc. (American), Adarna Home Health Care

      Services, Inc. (Adarna), and Amore Home Health Care Services, Inc. (Amore).

3.    From May 20, 2008 through January 25, 2014, defendant Dr. Castor violated the False

      Claims Act by knowingly signing plans of care for, and otherwise referring numerous

      patients for home health care services to defendant American, Adarna, and Amore, which
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      were owned by his immediate family members, including two siblings and two spouses

      of siblings, in violation of the Stark Law, 42 U.S.C. §§ 1395nn. Defendant American,

      and its owners defendants Aurea Duncan and Jacob Castor, who are siblings of defendant

      Dr. Castor, and Adarna and Amore, which also were owned by defendant Dr. Castor’s

      immediate family members, then violated the False Claims Act by submitting, or causing

      to be submitted, claims for payment to the Medicare Program (Medicare), Title XVIII of

      the Social Security Act, 42 U.S.C. §§ 1395-1395kkk-1, for services provided to home

      health patients referred by defendant Dr. Castor, and receiving payment for those claims

      from Medicare, in violation of the Stark Law. From May 20, 2008 through

      January 25, 2014, Medicare paid approximately 472 claims totaling approximately

      $1,254,489.41 to defendant American, Adarna, and Amore, three home health agencies

      owned by defendant Dr. Castor’s immediate family members, for home health services

      referred by defendant Dr. Castor to those home health agencies in violation of the Stark

      Law.

                              JURISDICTION AND VENUE

4.    This court has jurisdiction over this action under 31 U.S.C. §§ 3730(a) and 3732(a) and

      28 U.S.C. §§ 1345 and 1367(a).

5.    Venue is proper in this District under 31 U.S.C. § 3732(a) and 28 U.S.C. §§ 1391(b)

      and (c) because defendants can be found in, are authorized to transact business in, and are

      transacting business in the Northern District of Indiana, and because defendants

      committed acts within this District that violated 31 U.S.C. § 3729.




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                                          PARTIES

6.    Plaintiff United States of America (United States), acting through the United States

      Department of Health and Human Services (HHS) and the Centers for Medicare and

      Medicaid Services (CMS), which administers the Health Insurance Program for the Aged

      and Disabled established by Title XVIII of the Social Security Act, 42 U.S.C. §§ 1395

      §§ 1395-1395kkk-1 (Medicare).

7.    Relator, Bradley Stephens, is an individual residing in Lake County, Indiana.

8.    Pursuant to 31 U.S.C. § 3730(b)(1), Mr. Stephens brought this action against defendants

      Conrado Castor, M.D., American Home Health Services, Incorporated, and Aurea

      Duncan on behalf of the United States.

9.    Defendant Conrado Castor, M.D. (Dr. Castor) resides in Schererville, Indiana in Lake

      County in the Northern District of Indiana. During the time period relevant to the

      allegations in this Complaint, defendant Dr. Castor was a physician in Lake County,

      Indiana who was engaged in business as a Medicare provider of physician services.

10.   Defendant American Home Health Services, Inc. (American) was engaged in business as

      a Medicare provider of home health services in Lake County, Indiana from May 20, 2008

      through January 18, 2014.

11.   Defendant Aurea Duncan (Duncan) resides in Crown Point, Indiana in Lake County in

      the Northern District of Indiana. Defendant Duncan incorporated American on

      February 10, 2005 and has been American’s President since that time. Defendant

      Duncan was a 50% shareholder of American from its inception until August 2008, at

      which time she became the 100% shareholder of American. Defendant Duncan is the

      sister of defendant Dr. Castor.



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12.    Defendant Jacob Castor resides in Munster, Indiana in Lake County in the Northern

       District of Indiana. Defendant Jacob Castor owned approximately 25% of American

       from May 2008 until August 2008. Defendant Jacob Castor is the brother of defendant

       Dr. Castor.

                                           THE LAW

                                     The False Claims Act

13.    The False Claims Act (FCA) provides for the award of treble damages and civil penalties

       for, inter alia, knowingly presenting or causing to be presented false or fraudulent claims

       for payment to the United States government and for knowingly making or using false

       records or statements material to false or fraudulent claims paid by the United States.

       31 U.S.C. §§ 3729(a)(1), (2); 31 U.S.C. §§ 3729(a)(1)(A), (a)(1)(B) (as amended). 1

14.    The FCA provides, in pertinent part, that a person who:

       (a)(1)(A) knowingly presents, or causes to be presented, a false or fraudulent claim for
       payment or approval;

       (a)(1)(B) knowingly makes, uses, or causes to be made or used, a false record or
       statement material to a false or fraudulent claim; . . .

       (a)(1)(C) conspires to commit a violation of subparagraph (A), (B) … or (G); [or]

       (a)(1)(G) knowingly makes, uses, or causes to be made or used, a false record or
       statement material to an obligation to pay or transmit money or property to the
       Government, or knowingly conceals or knowingly and improperly avoids or decreases an
       obligation to pay or transmit money or property to the Government, is liable to the United
       States Government for a civil penalty of not less than $5,500 and not more than $11,000,


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  The FCA was amended pursuant to Public Law 111-21, the Fraud Enforcement and Recovery
Act of 2009 (FERA), enacted May 20, 2009. Given the nature of the claims at issue, sections
3279(a)(1) and 3279(a)(7) of the prior statute, and section 3729(a)(1)(A) and 3729(a)(1)(G) of
the revised statute are all applicable here. Sections 3729(a)(1) and 3729(a)(7) apply to conduct
that occurred before FERA was enacted, and sections 3729(a)(1)(A) and 3729(a)(1)(G) apply to
conduct after FERA was enacted. Pursuant to section 4(f) of FERA, section 3729(a)(1)(B) is
applicable to all claims in this case pending on or after June 7, 2008.


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      as adjusted by the Federal Civil Penalties Inflation Adjustment Act of 1990 (28 U.S.C.
      2461 note; Public Law 104-410), plus 3 times the amount of damages which the
      Government sustains. . .

      31 U.S.C. § 3729.

      For purposes of the False Claims Act,

             (1) the terms “knowing” and “knowingly”—

             (A) mean that a person, with respect to information—

                     (i) has actual knowledge of the information;
                     (ii) acts in deliberate ignorance of the truth or falsity of the information; or
                     (iii) acts in reckless disregard of the truth or falsity of the information; and

             (B) require no proof of specific intent to defraud[.]

      31 U.S.C. § 3729(b)(1).

15.   The standard of proof under the FCA is preponderance of the evidence. 31 U.S.C.

      § 3731(d).

                                        The Stark Law

16.   The physician self-referral law, 42 U.S.C. § 1395nn (commonly known as the Stark Law)

      prohibits a physician from referring a Medicare beneficiary for “designated health

      services” (DHS), as defined in 42 U.S.C. § 1395nn(h)(6) and 42 C.F.R. § 411.351,

      including home health services, to an entity with which the physician (or an immediate

      family member of the physician) as defined in 42 C.F.R. 411.351, has a financial

      relationship, as defined in 42 C.F.R. § 411.354, that does not satisfy the requirements of

      an applicable statutory or regulatory exception to the law. The Stark Law also prohibits

      the entity from submitting claims to Medicare for such improperly referred DHS. The

      statute specifically was designed to prevent losses to the Medicare program due to

      overutilization of DHS, increased costs, and corruption of medical judgment.



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17.   The Stark Law, at 42 U.S.C. § 1395nn(a)(1), provides that:

      (a) Prohibition of certain referrals

      (1) In general

      Except as provided in subsection (b), if a physician (or an immediate family member of
      such physician) has a financial relationship with an entity specified in paragraph (2),
      then--

      (A) the physician may not make a referral to the entity for the furnishing of designated
      health services for which payment otherwise may be made under this subchapter, and

      (B) the entity may not present or cause to be presented a claim under this subchapter or
      bill to any individual, third party payor, or other entity for designated health services
      furnished pursuant to a referral prohibited under subparagraph (A).

18.   A “financial relationship” of a physician (or an immediate family member of such

      physician) with an entity includes “an ownership or investment interest in the entity.”

      42 U.S.C. § 1395nn(a)(2).

19.   The term “immediate family member” includes siblings and spouses of siblings. See

      42 C.F.R. § 411.351.

20.   In 1993, the Stark Law was extended to referrals for additional DHS, including home

      health services. See 42 U.S.C. § 1395nn(h)(6)(I). See also Omnibus Reconciliation Act

      of 1993, P.L. 103-66, § 13562, Social Security Act Amendments of 1994, P.L. 103-432,

      § 152.

21.   Compliance with the Stark Law is a condition of payment by the Medicare program. The

      Stark Law prohibits Medicare from paying any claims for DHS referred in violation of

      the statute. See 42 U.S.C. § 1395nn (g)(1).

22.   The regulations implementing 42 U.S.C. § 1395nn expressly require that any entity

      collecting payment for a DHS “performed pursuant to a prohibited referral must refund

      all collected amounts on a timely basis.” 42 C.F.R. § 411.353(d).

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23.   A knowing violation of the Stark Law also may subject the billing entity to exclusion

      from participation in federal health care programs and civil monetary penalties.

      42 U.S.C. §§ 1395nn(g)(3), 1320a-7a(a).

                                   The Medicare Program

24.   In 1965, Congress enacted Title XVIII of the Social Security Act, known as the Medicare

      Program, to pay for the costs of certain healthcare services. Entitlement to Medicare is

      based on age, disability, or affliction with end-stage renal disease. See 42 U.S.C.

      § 1395(c). Part A of the Medicare Program authorizes payment for home health care.

      See 42 U.S.C. § 1395d(a)(3).

25.   HHS is responsible for the administration of the Medicare Program, which is

      accomplished through CMS.

26.   At all times relevant to this complaint, CMS contracted with private contractors referred

      to as “fiscal intermediaries,” “carriers,” and Medicare Administrative Contractors

      (MACs), to act as agents in reviewing and paying claims submitted by healthcare

      providers. 42 U.S.C. § 1395h; 42 C.F.R. §§ 421.3, 421.100.

27.   To participate in the Medicare program as a new enrollee, physicians and non-physician

      practitioners must submit a Medicare Enrollment Application, CMS Form-855I.

      Physicians also submit Form-855I if they are reactivating or revalidating Medicare

      enrollment or changing certain enrollment information.

28.   Medicare regulations require providers and suppliers to certify that they meet, and will

      continue to meet, the requirements of the Medicare statute and regulations.

      42 C.F.R. § 424.516(a)(1).




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      When a physician signs the certification statement contained in Form CMS-855I, he or

      she attests as follows:

              I agree to abide by the Medicare laws, regulations and program instructions . . . .
      I understand that payment of a claim by Medicare is conditioned upon the claim and the
      underlying transaction complying with such laws, regulations, and program instructions
      (including, but not limited to, the Federal anti-kickback statute and the Stark law), and on
      the supplier’s compliance with all applicable conditions of participation in Medicare.

29.   The National Provider Identifier (NPI) is a standard and unique health identifier for

      health care providers. All providers and practitioners must have an assigned NPI number

      prior to enrolling in Medicare.

30.   To obtain Medicare reimbursement for certain outpatient items or services, providers

      submit claims using forms known as CMS 1500s. Among the information the provider

      includes on a CMS 1500 form are certain five-digit codes, known as Current Procedural

      Terminology Codes, or CPT codes, that identify the services rendered and for which

      reimbursement is sought, and the unique billing identification number of the “rendering

      provider” and the “referring provider or other source.”

31.   Defendants Dr. Castor and American are authorized by the Medicare program to provide

      medical services to Medicare beneficiaries, bill Medicare for legitimate, covered services

      and collect allowable payments for the services provided.

                      Specific Requirements for Home Health Services

32.   Medicare will not pay for home health services unless a physician certifies or recertifies

      that (1) the patient is confined to the home; (2) the patient needs intermittent skilled

      nursing care, physical therapy, speech therapy, or occupational therapy; (3) a plan of care

      for the patient was established and is periodically reviewed by the physician; and (4) the

      home health services were furnished while the individual was under the care of the



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      physician. Further, before a home health agency may submit to Medicare claims for

      payment for home health services, the attending physician must sign and date the plan of

      care. Rubber signature stamps are not acceptable. 42 C.F.R. § 424.22; Medicare Manual

      30.1, Rev. 68.

33.   If a physician or his immediate family member has a financial relationship with a home

      health agency (as defined in 42 C.F.R. § 411.354), the Stark Law prohibits the physician

      from (1) certifying or recertifying a need for home health services; or (2) establishing or

      reviewing a plan of care with the home health agency, unless the financial relationship of

      the physician or his immediate family member satisfies the requirements of an applicable

      exception in 42 C.F.R. §§ 411.355-57.

34.   Defendant American, Adarna Home Health Care Services, Inc. (Adarna), and Amore

      Home Health Care Services, Inc. (Amore) were owned by defendant Dr. Castor’s

      immediate family members. Adarna, and Amore are located in a Metropolitan Statistical

      Area (as defined in 42 C.F.R. § 412.62(f)(1)(ii)), and therefore are not located in a rural

      area as defined at 42 C.F.R. § 411.351. Therefore, the financial relationship between

      defendant Dr. Castor’s immediate family members with defendant American, Adarna,

      and Amore did not satisfy the requirements of any applicable exception, because no

      exception was available to them, including the rural provider exception at 42 C.F.R.

      § 411.356(c). Therefore, defendant Dr. Castor’s referrals to his immediate family

      members who owned defendant American, Adarna, and Amore were prohibited under the

      Stark Law and 42 C.F.R. § 424.22.




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                                 DEFENDANTS’ SCHEME

35.   From May 20, 2008 through January 25, 2014, defendant Dr. Castor knowingly signed

      plans of care for, and otherwise referred numerous Medicare patients for the purpose of

      receiving home health care services to three home health agencies owned by his

      immediate family members in violation of the Stark Law.

36.   During the relevant time period, defendant American, Adarna, and Amore were owned

      by defendant Dr. Castor’s immediate family members.

37.   During the relevant time period, defendant American, Adarna, and Amore knowingly

      billed Medicare for home health services in violation of the Stark Law for patients

      referred by defendant Dr. Castor.

38.   Attached as Exhibits 1A through 1E and here incorporated by reference as if set out in

      full, is a list of claims paid by Medicare for defendant Dr. Castor’s home health care

      referrals to agencies owned by his immediate family members for home health care

      services provided from May 20, 2008 through January 25, 2014.

39.   During the relevant time period, Medicare paid approximately 472 claims totaling

      approximately $1,254,489.41 to defendant American, Adarna, and Amore for defendant

      Dr. Castor’s home health care referrals.

                              American Home Health Services

40.   Defendant American was incorporated in February 2005 and is engaged in business as a

      Medicare provider of home health services in Lake County, Indiana.

41.   Defendant Duncan has been American’s President since it was incorporated. Defendant

      Duncan was a 50% shareholder of American from its inception until August 2008, when

      she became the 100% shareholder of American.



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42.   Defendant Duncan is the sister of defendant Dr. Castor.

43.   Defendant Dr. Castor knowingly referred his patients to American to receive home health

      services in violation of the Stark Law and 42 C.F.R. § 424.22.

44.   From May 20, 2018 through January 18, 2014, defendant American knowingly submitted

      claims to Medicare for home health services for patients referred by defendant Dr. Castor

      in violation of the Stark Law and 42 C.F.R. § 424.22.

45.   From May 20, 2018 through January 18, 2014, defendant Duncan caused to be submitted

      to Medicare claims from defendant American for home health services for patients

      referred by defendant Dr. Castor in violation of the Stark Law and 42 C.F.R. § 424.22.

46.   Attached as Exhibit 1B and here incorporated by reference as if set out in full, is a list of

      claims paid by Medicare to American for defendant Dr. Castor’s home health care

      referrals for the period from May 20, 2008 through January 18, 2014 (with patient names

      and other identifying information redacted pursuant to Fed. R. Civ. P. 5.2).

47.   During the relevant time period, Medicare paid approximately 318 claims totaling

      approximately $862,709.81 to American for defendant Dr. Castor’s home health care

      referrals.

48.   Defendant Jacob Castor owned approximately 25% of American from May 2008 until

      August 2008.

49.   Defendant Jacob Castor is the brother of defendant Dr. Castor.

50.   From May 20, 2008 through August 21, 2008, during the relevant time period of his

      ownership interest in defendant American, defendant Jacob Castor knowingly caused to

      be submitted to Medicare claims from defendant American for home health services for




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      patients referred by defendant Dr. Castor in violation of the Stark Law and 42 C.F.R.

      § 424.22.

51.   Attached as Exhibit 1C and here incorporated by reference as if set out in full, is a list of

      claims paid by Medicare to American for defendant Dr. Castor’s home health care

      referrals during the period of defendant Jacob Castor’s ownership interest in American

      from May 20, 2008 through August 21, 2008 (with patient names and other identifying

      information redacted pursuant to Fed. R. Civ. P. 5.2).

52.   From May 20, 2008 through August 21, 2008, during the relevant time period of

      defendant Jacob Castor’s ownership interest in American, Medicare paid approximately

      17 claims totaling approximately $41,494.52 to American for defendant Dr. Castor’s

      home health care referrals.

                             Adarna Home Health Care Services

53.   Adarna was incorporated in March 2004 and was engaged in business as a Medicare

      provider of home health services in Lake County, Indiana from at least July 22, 2008

      through at least January 13, 2014.

54.   From at least July 22, 2008 through at least January 13, 2014, Maria Cynthia Castor was

      Adarna’s Chief Executive Officer and Owner.

55.   Maria Cynthia Castor is the sister-in-law of defendant Dr. Castor and the wife of Zosimo

      Castor, one of defendant Dr. Castor’s brothers.

56.   Defendant Dr. Castor knowingly referred his patients to Adarna in violation of the Stark

      Law to receive home health services.

57.   Adarna and Maria Cynthia Castor submitted claims to Medicare in violation of the Stark

      Law for home health services for patients referred by defendant Dr. Castor, from at least



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      July 22, 2008 through at least January 13, 2014, in violation of the Stark Law and

      42 C.F.R. § 424.22.

58.   Attached as Exhibit 1D and here incorporated by reference as if set out in full, is a list of

      claims paid by Medicare to Adarna for defendant Dr. Castor’s home health care referrals

      for the period from July 22, 2008 through January 13, 2014 (with patient names and other

      identifying information redacted pursuant to Fed. R. Civ. P. 5.2).

59.   From July 22, 2008 through January 13, 2014, Medicare paid approximately 82 claims

      totaling approximately $211,308.46 to Adarna for defendant Dr. Castor’s home health

      care referrals.

                            Amore Home Health Care Services, Inc.

60.   Amore was engaged in business as a Medicare provider of home health services in Lake

      County, Indiana from March 14, 2011 through December 31, 2013.

61.   From March 14, 2011 through December 31, 2013, Debbie J. Castor was the President

      and sole shareholder of Amore until she sold the business on December 31, 2013.

62.   From March 14, 2011 through December 31, 2013, Debbie J. Castor was the sister-in-law

      of defendant Dr. Castor and the wife of Johnny Castor, one of defendant Dr. Castor’s

      brothers.

63.   Defendant Dr. Castor knowingly referred his patients to Amore to receive home health

      services in violation of the Stark Law and 42 C.F.R. § 424.22.

64.   Amore and Debbie J. Castor submitted claims to Medicare for home health services for

      patients referred by defendant Dr. Castor in violation of the Stark Law and 42 C.F.R.

      § 424.22.




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65.   Attached as Exhibit 1E and here incorporated by reference as if set out in full, is a list of

      claims paid by Medicare to Amore for defendant Dr. Castor’s home health care referrals

      for the period from March 14, 2011 through January 25, 2014 (with patient names and

      other identifying information redacted pursuant to Fed. R. Civ. P. 5.2).

66.   From March 14, 2011 through January 25, 2014, Medicare paid approximately 72 claims

      totaling approximately $180,471.14 to Amore for defendant Dr. Castor’s home health

      care referrals.

                                   VIOLATIONS OF LAW

                                           COUNT 1

                        False Claims Act: Presentation of False Claims
                                  (31 U.S.C. § 3729(a)(1)(A))

67.   Plaintiff United States realleges paragraphs 1 through 66 above as if fully set forth.

68.   Defendant Dr. Castor, knowingly presented, or caused to be presented, approximately

      472 false or fraudulent claims to Medicare for defendant Dr. Castor’s home health care

      referrals to defendant American, Adarna, and Amore.

69.   Defendant American, knowingly presented, or caused to be presented, approximately

      318 false or fraudulent claims to Medicare for defendant Dr. Castor’s home health care

      referrals to American.

70.   Defendant Duncan, knowingly presented, or caused to be presented, approximately

      318 false or fraudulent claims to Medicare from defendant American for defendant

      Dr. Castor’s home health care referrals to American.

71.   Defendant Jacob Castor, knowingly presented, or caused to be presented, approximately

      17 false or fraudulent claims to Medicare from defendant American for defendant

      Dr. Castor’s home health care referrals to American.

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72.   The false or fraudulent information in each claim was material to Medicare’s decision to

      pay the false claims that defendant American, defendant Duncan, defendant Jacob Castor,

      Adarna, and Amore submitted to Medicare.

73.   Defendants Dr. Castor, American, Duncan, and Jacob Castor presented the false or

      fraudulent claims to Medicare, or caused the false or fraudulent claims to be presented to

      Medicare, with actual knowledge of their falsity, or with reckless disregard or deliberate

      ignorance of whether or not they were false.

74.   Plaintiff United States sustained a loss from the false or fraudulent claims defendant

      American, defendant Duncan, defendant Jacob Castor, Adarna, and Amore submitted to

      Medicare.

75.   Defendants Dr. Castor, American, Duncan, and Jacob Castor are liable to plaintiff United

      States under the FCA, jointly and severally, for three times the loss sustained by plaintiff

      United States plus a civil penalty of not less than $5,500 and not more than $11,000 per

      false claim and the costs of this civil action brought to recover such penalty and damages.

      31 U.S.C. § 3729(a)(1), (3). Federal Civil Penalties Inflation Adjustment Act of 1990,

      28 U.S.C. § 2461 note; Public Law 101-410; 64 Fed. Reg. 47,099, 47,103 (1999).

                                           COUNT 2

               False Claims Act: False Statements Material to False Claims
                               (31 U.S.C. § 3729(a)(1)(B))

76.   Plaintiff United States realleges paragraphs 1 through 75 above as if fully set forth.

77.   Defendant Dr. Castor knowingly made, used, or caused to be made or used, false or

      fraudulent records or statements, including claims for payment or approval submitted to

      Medicare (identified in paragraphs 31-62 above) for DHS rendered to patients by an




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      entity owned by the referring physician’s immediate family members in violation of the

      Stark Law.

78.   Defendant American knowingly made, used, or caused to be made or used, false or

      fraudulent records or statements, including claims for payment or approval submitted to

      the United States (identified in paragraphs 31-48 above) for DHS rendered to patients by

      an entity owned by the referring physician’s immediate family members in violation of

      the Stark Law.

79.   Defendant Duncan knowingly made, used, or caused to be made or used, false or

      fraudulent records or statements, including claims for payment or approval submitted to

      the United States (identified in paragraphs 31-48 above) for DHS rendered to patients by

      an entity owned by the referring physician’s immediate family members in violation of

      the Stark Law.

80.   Defendant Jacob Castor knowingly made, used, or caused to be made or used, false or

      fraudulent records or statements, including claims for payment or approval submitted to

      the United States (identified in paragraphs 31-48 above) for DHS rendered to patients by

      an entity owned by the referring physician’s immediate family members in violation of

      the Stark Law.

81.   The false or fraudulent records or statements that defendants Dr. Castor, American,

      Duncan, and Jacob Castor made, used, or caused to be made or used were material to the

      decisions of Medicare to pay the false claims that those defendants submitted, or caused

      to be submitted, to Medicare.

82.   Defendants Dr. Castor, American, Duncan, and Jacob Castor made, used, or caused to be

      made or used, the false or fraudulent records or statements with actual knowledge of their



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      falsity, or with reckless disregard or deliberate ignorance of whether or not they were

      false.

83.   Plaintiff United States sustained a loss from the false or fraudulent claims to Medicare

      that defendants Dr. Castor, American, Duncan, and Jacob Castor caused to be submitted

      using false or fraudulent records or statements that defendants Dr. Castor, American,

      Duncan, and Jacob Castor made, used, or caused to be made or used.

84.   Defendants Dr. Castor, American, Duncan, and Jacob Castor are liable to the United

      States under the FCA, jointly and severally, for three times the loss sustained by the

      United States plus a civil penalty of not less than $5,500 and not more than $11,000 per

      false claim and the costs of this civil action brought to recover such penalty and damages.

      31 U.S.C. § 3729(a)(1), (3). Federal Civil Penalties Inflation Adjustment Act of 1990,

      28 U.S.C. § 2461 note; Public Law 101-410; 64 Fed. Reg. 47,099, 47,103 (1999).

               COUNT 3 (Defendants American, Duncan, and Jacob Castor)
                                Payment by Mistake

85.   Plaintiff United States realleges paragraphs 1 through 84 above as if fully set forth.

86.   This is a claim for the recovery of monies paid by Medicare to defendants American,

      Duncan, and Jacob Castor because of mistaken understandings of fact.

87.   Defendants American, Duncan, and Jacob Castor were not entitled to receive payment

      from the United States for DHS furnished by an entity that had a “financial relationship”

      with the referring physician or an “immediate family member” of such physician as

      prohibited by the Stark Law.

88.   The United States paid defendants American, Duncan, and Jacob Castor for claims for

      DHS, specifically home health services, furnished by an entity that had a “financial

      relationship” with an “immediate family member” of the referring physician without

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      knowledge of material facts, and under the mistaken belief that defendants American,

      Duncan, and Jacob Castor were entitled to receive payment for such claims.

89.   The United States’ mistaken belief was material to its decision to pay claims for home

      health services submitted, or caused to be submitted, by defendants American, Duncan,

      and Jacob Castor.

90.   Plaintiff United States suffered losses as a result of the Medicare payments to defendants

      American, Duncan, and Jacob Castor based on a mistake of fact.

91.   Defendants American, Duncan, and Jacob Castor are liable to account and pay to plaintiff

      United States the payments that Medicare made in error to defendants American, Duncan,

      and Jacob Castor.

              COUNT 4 (Defendants American, Duncan, and Jacob Castor)

                                      Unjust Enrichment

92.   Plaintiff United States realleges paragraphs 1 through 91 above as if fully set forth.

93.   This is a claim by plaintiff United States for recovery of monies by which defendants

      American, Duncan, and Jacob Castor were unjustly enriched.

94.   By obtaining Medicare funds, directly or indirectly, to which they were not entitled,

      defendants American, Duncan, and Jacob Castor were unjustly enriched.

95.   Plaintiff United States suffered losses because of the unjust enrichment of defendants

      American, Duncan, and Jacob Castor.

96.   Defendants American, Duncan, and Jacob Castor are liable to account and pay to plaintiff

      United States the amounts defendants American, Duncan, and Jacob Castor received

      from Medicare to which they were not entitled.




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                                    REQUEST FOR RELIEF

       WHEREFORE, plaintiff United States of America requests that this Court enter judgment

in its favor against defendants Conrado Castor, M.D., American Home Health Services, Inc.,

Aurea Duncan, and Jacob Castor, jointly and severally, as follows:

1.     For Counts 1 and 2 under the False Claims Act, the amount of plaintiff United States’

       damages, trebled as required by law, and such civil penalties as are authorized by law.

2.     For Counts 3 and 4 for payment by mistake and unjust enrichment, the damages sustained

       or the amounts by which defendants American, Duncan, and Jacob Castor were paid by

       mistake or unjustly enriched, or by which defendants American, Duncan, and Jacob

       Castor retained monies to which they were not entitled, plus pre-judgment interest,

       attorneys’ fees, costs, and expenses.

3.     The costs of this action.

4.     All additional and other relief that is just and proper.




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                                       JURY DEMAND

      Plaintiff United States of America demands a jury trial on all issues so triable.

                                            Respectfully submitted,

                                            THOMAS L. KIRSCH II
                                            UNITED STATES ATTORNEY

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